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CHEROKEE SOLUTIONS, INC., >: UNITED STATES DISTRICT COURT
as Assignee of Judgment from Cityscape : DISTRICT OF NEW JERSEY

Corp. a/k/a Cityscape Mortgage Corp.
Case No: 2:01-MC-00021 (KSH)
Plaintiff

VS REPORT OF SALE
WALSH SECURITIES CORP.

Defendant

TO THE HONORABLE JUDGE OF THE UNITED STATES DISTRICT COURT FOR
THE DISTRICT OF NEW JERSEY:

|, JAMES T. PLOUSIS, United States Marshal for the District of New Jersey,
through Ivan Baptiste, Supervisory Deputy United States Marshal, do hereby
respectfully report that on 28 March 2006, | sold at the U.S. Marshals Service in
Newark, New Jersey, after having first duly advertised it, the property located at
263-265 South 10" Street, (Block 1796, Lot 18, the “Property”) Newark, New Jersey,
particularly described in the Writ of Execution, issued out of this Court in the above
entitled cause, bearing the date of 29 December 2005 and directed to me, Cherokee
Solutions, Inc., as Assignee of Judgment from Cityscape Corp. a/k/a Cityscape
Mortgage Corp., c/o Francis J. Ballak, Esg., GOLDENBERG, MACKLER, SAYEGH,
MINTZ, PFEFFER, BONCHI & GILL, P.C., attorney for plaintiff, 660 New Road,

Suite 1-A, Northfield, New Jersey, 08225, for the total sum of One Hundred Dollar
Case 2:01-mc-00021-KSH Document 53 Filed 05/10/06 Page 2 of 4 PagelID: 128

($100.00)(Credit Bid), the satd Cherokee Solutions, Inc., as Assignee of Judgment from
Cityscape Corp. a/k/a Cityscape Mortgage Corp., c/o Francis J. Ballak, Esq., being the
only bidder for said property. All of which is respectfully submitted, this 26th day of

April 2006.

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—ae Bia!
JAMES T. PLOUSIS

United States Marshal
District of New Jersey
Case 2:01-mc-00021-KSH Document 53 Filed 05/10/06 Page 3 of 4 PagelID: 129

STATE OF NEW JERSEY )
) Case No: 2:01-MC-00021 (KSH)
County of Essex )

|, JAMES T. PLOUSIS, of full age, being duly sworn according to law,
upon his oath deposes and says that the price of One Hundred Dollars ($100.00)(Credit
Bid), herein before mentioned, was the best price that the real property located at 263-
265 South 10" Street, (Block 1796, Lot 18, the “Property”) Newark, New Jersey, herein
before referred to, would bring at the time of said sale, and that the said real property
was sold for the highest and best price the same would bring at that time.

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JAMES T. PLOUSIS
United States Marshal
District of New Jersey

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District Court-dor the Distriet of IG. on De.
‘cember, 2), 2005, in the mater captioned Cityscape
Corp: vs, Walsh Securities Corp. Civil Action Na.
MC-2:01-40021 [KSH) and pursuant fo 20-U.5.C. 2001
eft, JAMES T. PLOUSIS, Unlted States-Mars!
halt, shall expose for sale by pubilc venue atthe
United. Staten Marshals Servied, District of Mew
vderdey,. Newark Office, Martin Luther King «Jr_-
Federal Buliding and U.S. Courthouse, 40 Walnut: |
Street, Room 2008, Newark, Hew Jersey, on March:
24, 2006) Bt 100 am. prevailing Time, ihe tolkewing |
piboerty [Block TAH. Lot 8. the "Property"! con. |

sisting of the land and all buildings, eirectures and
+ dixtures on of Attached.to thetang, AS 15, WHERE
ig, WITHOUT ANY REPRESENTATIONS OR WAR:
RANTIES OF ANY KIND, being in the City of New-
ark, County of Essex, State of New Jersey, carn-
monly know? a9 263245 South 10th Street, Newark,
New Jersey, 07102, and more peribcularly described
astollnwi: , .
| BEGINNING AT A POINT IN THE ‘WESTERLY
| SIDELINE DF SOUTH 10TH STREET SAID POINT
‘ BEING DISTANT 925.00 FEET SOUTHERLY

ALONG THE SAME FROM [Y$ INTERSECTION

NUE [FORMERLY BANX STREET AND 64 FEET

| WITH THE SOUTHERLY SIDELINE OF 12TH AVE- -
‘
|
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WIDE). AND FROM SALD POINT OF BEGINNING °

RUNHING: THENCE .
“ALONG THE WESTERLY SIDELINE OF SOUTH

10TH STREET SOUTH 77 DEGREES 15 MINUTES’

WEST 40,00 ERET TO A POINT; THENCE Lo
2, NORTH 42 DEGREES 48 MINUTES WEST 100.00
FEET TO A POINT, THENCE
3. NORTH 27 DEGREES 15 MINUTES EAST 50.00
EEET TO A POINT; THENCE .
4, SOUTH 42 DEGREES 45 MINVTES EAST 100.00
FEET TO THE FOINT AND PLACE OF
i BEGINNING, : .
| THE ABOVE PREMISES 15 4L50 KNQWN ASB LOT
TaN BLOCK 1794 ON THE OFFICIAL TAX MAP
OF THE CITY OF NEWARK, (REPORTED FOR
INFORMATIONGNLY) © ‘ ot
_ The Property willbe gold os one whole parcel at
public sale te suflsfy:the amounts due on the [udp

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ment entered herain, together with the (nterest ud»

{ tharson aod the copte-af this sule, betng In the ap-
sroximate amount Of $4,732,548.99 Be of Jonuery 4,
0), Gua post wdgment Interas! todate of pale,

“In addition tp the terma and conditians that
may bp annguneed at the Sale, the Terms and Can-
ditions of thig Sole shall be as follows: oo

a, The property shall be gold aa-one whole per-
cel at public sols af-the U8, Marehols, Service,
Newark, New Jersey... | a,

b, The Puaintift may blade credit agelnst its [udg-

: ment.and Interesl theraon; plus costa and expens-

‘ys, without tendar of coah, a5 provided by STU.E.C,

RI a .
t. A daposit of 10% in money order or by certi-

{lad check drawn ona New Jersey bank made pay-
bie to, the order of tne U.S, Marahats Service for
the amount of the bid, which shat be paid forthwith
‘ypor conclusion ef the biddlng. The successful bld-
der, calted the "Purchater" must pey the remain
ing Ainety percent (70%) of the purchaag Brice to
the U.S. Marshals Service within thirty (20) days of
written notice to purchaser that the'W.5, Marahals

Servico has received a certified copy of the Order

Confirming Sale, and is prepared to deliver to Pur:
| ghoser 3 Deed dor the property Bt 2 time and place
" apecttiad. Failure to do so will reautt In the bidder's
: forfalture of any amounts he or she deposited with

the LS. Marshalp Service. The WS, Aardhal re-
| Serves the ripht #6 reject any afd all bids not in ae

cordance withthe termaotsaly,
d, The purchaser thall be liable tor payment of
dhe purchase money, whether he affands and re-
ceived hig Deed at such time and place or not; and ©

“Yn case he neglects to recetvé Hla Deed and pay the

balance. ot the purchasa money, 42 soressid, the |
US.-Marghals Service will have the aption.ot elther .

| Pe-navertisiig the land and premlies and:selting it

‘agatn, or of proceeding ta compel the purchaser la,
completa. hls purchase. In the avent that the re-sale

— of thé land and pramises should produce aaum lass
‘than the former bid, The pyrchader will be held |a-

ble for the ditterence plus interest end expenses. If
5 dubsequeant sale should produce .o larger ium

. jhan the formar bid. Interest and gxpenses, ihe

purchasar shall not tecelve any benefit tharaby.
(e. The bidding will be kep? open offer the tnd |

\ pnd premises {6 biruck of; aod In ihe event that fhe
"purchaser falls t6 camply with any of the above

conditions of sale, the U.S. Marshal, at his option, |
may again immediately put vp the (and and prem.
iaes for sale, subject ip the satne conditions, and -
the ofiginal pyrcheser shali be held liable for any :
delicieney and shell not receive benatits from any |
Increased bid. . :
1. The reference ta "he", “pls” of "him", relating |
tothe purchaser shail.bé held to opely to one or |
more Individuals, male or female, or & Corporation

* areorparations. |

g, The purcharer shall be Habie tor any and all
revenue plamps thal may be required by any law
and any recording fees. : co
hy The furehaser takes the fend ond premises
at deseribed in the Writ of Execuilon and subject to |
such claims for local taxes and other ltena having |
erlority over the len of the Plaintiff os 3 proper
starch of ihe recarda nay aleclose.

i. The Marshals Serwice resumes the right th &d-
journ the fale withoyt further notice by |
publication, ,

|. For further information you mey contact the
U.S. Marshals service, $0 Walnul Street, Newark,
Naw Jersey 07107, talephong number (9731 645.2404,
ext, M7, or the @iterneys for the pisintitt,
Guldenberg, Maackler, Sayegh, Mintz, Ptetier, ‘|
Bonchi £ Gil, PC. (Francis J. Bailek, Esquire),
660 Naw Rood, Suite 1-A, Northfield, New Jarcey
08225, (B09) G4b-0228. .

JAMES T, PLOUSIS

Wnited Ststas Marshal
District of New Jersey
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STATE OF NEW JERSEY } 68
COUNTY OF ESSEX

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Being duly sworn, according to law, on h_is, oath sayeth that
tre is _ C Awe 1 of the

Star-Ledger, in said County of Essex, and that the notice, of

which the attached is a copy, was published in said paper
on the “2-As+ day of KAoyein , 2OOe,
and continued therein tor__hAgein “7,64 Eel 28 2

successively, at least once in asach oe ob

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for (4) aay LAeweetey

Sworn to and subscribed

before me this <4 +H

NOTARY PUBLIC of NEW JERSEY

DONNA M, ¢
NOTARY PUBLIC OF EW eeeey
My Cornmission Expires Mar. §, 2008
